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This file contains a list of all transfer outputs of the cluster identified by the following cluster ID:
                                                        935B
The cluster is also known by the following name:



Each line represents a transfer output which is either sent to the cluster or received by the cluster.

Columns:
Hash: The 32 byte hash of the transfer that contains the output.
Date: The date when the transfer was confirmed.
Receiving Address: If the output is received by this cluster then this will be the address in the cluster that received payment.
Counterparty Address: If the output is sent by this cluster then this will be the address in the peer cluster that payment was sent to.
Counterparty Cluster Name: The name of the peer cluster if it has been given a name.
Counterparty Category: The category of the peer cluster if it has a category.
Counterparty Shared Name: The shared name of the peer cluster if it has been given a shared name.
Value: The approximate values.
USD value: The approximated USD value converted by using daily average prices. 0 if the price is unknown.

Hash                                                                                                       Date              Receiving Address               Counterparty Address              Counterparty Cluster Name   CounterpaCounterpa Value           USD Value
                                                                                                             11/21/2022 9:35                          935B                                                                                            10.00           10.00
                                                                                                            11/21/2022 10:17                          935B                                                                                     1,396,229.07    1,396,089.44
                                                                                                            11/21/2022 10:27                          935B                                                                                     3,603,760.93    3,603,400.56




                                                                                                              5/5/2023 16:30                          935B                                                                                           100.00          100.06
                                                                                                              5/5/2023 16:33                          935B                                                                                       499,900.80      500,185.87




                                                                                                                                                                                                                                          Exhibit 1.b
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Total transfers:
                          67
